    Case 3:24-cv-00090-SFR       Document 128   Filed 06/30/25   Page 1 of 18




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


JANEL GRANT,
                        Plaintiff,
                  v.
WORLD WRESTLING ENTERTAINMENT, INC.
n/k/a WORLD WRESTLING ENTERTAINMENT,            Civil Action No.: 3:24-cv-00090 (SFR)
LLC; VINCENT K. MCMAHON; and JOHN
LAURINAITIS,
                        Defendants.




DEFENDANT WORLD WRESTLING ENTERTAINMENT, LLC’S OPPOSITION TO
PLAINTIFF’S MOTION FOR LEAVE TO SERVE MOTION-RELATED DISCOVERY




ORAL ARGUMENT REQUESTED
         Case 3:24-cv-00090-SFR                       Document 128                 Filed 06/30/25             Page 2 of 18




                                                  TABLE OF CONTENTS

                                                                                                                                Page(s)

PRELIMINARY STATEMENT .....................................................................................................1
BACKGROUND .............................................................................................................................2
ARGUMENT...................................................................................................................................4
I.        GRANT IS NOT ENTITLED TO DISCOVERY RELATED TO
          DEFENDANTS’ MOTIONS TO COMPEL ARBITRATION...........................................5
          A.         Grant Has Failed to Provide Non-Conclusory Facts or Evidence Relating
                     to the Alleged Invalidity of the Arbitration Provision.............................................6
          B.         The SEC Order and the Second Circuit Crime-Fraud Decision Are
                     Irrelevant to Defendants’ Motions to Compel Arbitration and Do Not
                     Support Grant’s Request for Motion-Related Discovery ........................................8
II.       GRANT’S DISCOVERY REQUESTS EXCEED THE PROPER SCOPE OF
          “MOTION-RELATED” DISCOVERY AND WOULD CAUSE AN UNDUE
          BURDEN ON DEFENDANTS AND UNNECESSARY DISCOVERY
          DISPUTES FOR THE COURT.........................................................................................10
          A.         Grant’s “Motion-Related” Requests Are Not Remotely Tailored to the
                     Issue in Defendants’ Motions to Compel Arbitration, But Instead Attempt
                     to Circumvent the Discovery Stay.........................................................................11
          B.         The Requests, Which Implicate Significant Relevance and Privilege
                     Concerns, Are Unduly Burdensome and Prejudicial and Would Lead to
                     Extensive Discovery Disputes ...............................................................................12
CONCLUSION..............................................................................................................................13




                                                                     i
        Case 3:24-cv-00090-SFR                      Document 128               Filed 06/30/25             Page 3 of 18




                                              TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

Ahmad v. Day,
   2021 U.S. Dist. LEXIS 32401 (S.D.N.Y. Feb. 22, 2021)........................................................10

Alvarez v. Experian Info. Sols., Inc.,
   2021 WL 2349370 (E.D.N.Y. June 7, 2021) ...........................................................................11

de Moura Castro by Hilario v. Loanpal, LLC,
   715 F. Supp. 3d 373 (D. Conn. 2024)......................................................................................11

Flores v. Nat’l Football League,
   2022 WL 3098388 (S.D.N.Y. Aug. 4, 2022).................................................................5, 10, 12

Golightly v. Uber Techs., Inc.,
   2021 WL 3539146 (S.D.N.Y. Aug. 11, 2021).........................................................................11

In Re: Grand Jury Subpoenas Dated September 13, 2023,
    128 F.4th 127 (2d Cir. 2025) .....................................................................................................9

Grimmett v. DMM Sols., Inc.,
   2024 WL 5090009 (S.D.N.Y. Dec. 11, 2024) .......................................................................6, 7

Legacy Cap. 26, LLC v. Chaldean Enter., LLC,
   2023 WL 5530307 (S.D.N.Y. Aug. 28, 2023).....................................................................5, 11

Michel v. Parts Auth., Inc.,
   2016 WL 11798927 (E.D.N.Y. June 17, 2016) .........................................................................7

Moton v. Maplebear Inc.,
   2016 WL 616343 (S.D.N.Y. Feb. 9, 2016)......................................................................5, 6, 11

Olsen v. Charter Commc’ns, Inc.,
   2019 WL 3779190 (S.D.N.Y. Aug. 9, 2019)...................................................................6, 9, 10

Weiss v. Travex Corp.,
   2002 WL 1543875 (S.D.N.Y. July 12, 2002) ............................................................................6

Other Authorities

Federal Rule of Civil Procedure 26(f) .........................................................................................2, 3




                                                                  ii
      Case 3:24-cv-00090-SFR           Document 128         Filed 06/30/25      Page 4 of 18




               Defendant World Wrestling Entertainment, LLC (“WWE”) respectfully submits

this memorandum of law in opposition to Plaintiff Janel Grant’s Motion for Leave to Serve

Motion-Related Discovery (the “Discovery Motion” or “Disc. Mot.”), ECF No. 126.

                                PRELIMINARY STATEMENT

               Grant is not entitled to motion-related discovery. She has entirely failed to allege

sufficient facts calling into question the validity of the arbitration provision in the separation and

non-disclosure agreement between Grant, Vincent McMahon, and WWE (the “Agreement”). Over

the course of nearly 18 months of pleadings and motion practice, Grant has yet to allege a single

fact suggesting that the relevant arbitration provision itself is not what it purports to be—a valid

and enforceable agreement to resolve any allegations by means of alternative dispute resolution.

In this Circuit, there is a demanding and clear standard for granting jurisdictional discovery in

connection with motions to compel arbitration, and Grant comes nowhere close to meeting that

standard.

               Nor are Grant’s document requests a legitimate proposal to take such motion-

related discovery. Two months ago, in opposing WWE’s motion for a stay of discovery, Grant

represented to the Court that she had no intention of taking broad-based merits discovery, but

rather that she intended to seek “targeted discovery into the formation of” the Agreement “after

Defendants’ renewed motions to compel arbitration [were] filed to help resolve disputed issues of

fact at the heart of Defendants’ jurisdictional arguments.” ECF No. 113 at 8. The discovery

requests that Grant now asks the Court to authorize are neither targeted nor limited to the formation

of the Agreement. They are full merits discovery requests, covering a six-and-a-half-year time

period, seeking documents potentially relevant to all substantive aspects and issues of the case,

with many that are plainly not relevant. Grant’s document requests are a transparent attempt to
      Case 3:24-cv-00090-SFR           Document 128        Filed 06/30/25      Page 5 of 18




circumvent the Court’s stay order and initiate full merits discovery before the Court is able to

decide Defendants’ motions to compel arbitration. See ECF No. 116 (granting WWE’s motion to

stay discovery and permitting Grant to file a request for “leave to take motion-related discovery”).

               Grant’s Discovery Motion should be denied and she should be required, at long

last, to respond to Defendants’ motions to compel arbitration.

                                        BACKGROUND

               Since January 25, 2024, when Grant filed the original Complaint, Defendants have

thrice sought to compel arbitration. After WWE promptly filed its second motion to compel on

December 23, 2024, see ECF No. 86,1 following the conclusion of a six-month stay of this action,

Grant twice moved for a status conference and, for the first time, indicated that she planned to

amend the Complaint, see ECF Nos. 88, 90. On January 16, 2025, the Court denied Grant’s

motions but allowed her to submit a motion for leave to file an amended complaint addressing why

she should be permitted to amend “despite the expiration of the deadline for filing amended

pleadings contained in ECF No. 7.” ECF No. 93. The Court also denied Defendants’ renewed

arbitration motions “without prejudice to renewal following the Court’s decision on Plaintiff’s

motion for leave to amend the complaint.” Id.

               On March 28, 2025, while her Motion for Leave to Amend the Complaint was

pending, Grant unilaterally filed Plaintiff’s portion of a Rule 26(f) Report. ECF No. 106. In it,

she noted that she would seek discovery on eight broadly defined topics and proposed that all

document, deposition, and expert discovery in the case be completed by December 1, 2025. Id.

at 5–6. In response, WWE filed a Motion to Stay Discovery in light of Defendants’ forthcoming


1   On December 23, 2024 and December 24, 2024, respectively, Defendants McMahon and
    Laurinaitis also filed renewed motions to compel arbitration. ECF Nos. 85, 87. Laurinaitis
    was voluntarily dismissed from this action with prejudice on May 30, 2025. ECF No. 121.


                                                 2
      Case 3:24-cv-00090-SFR          Document 128        Filed 06/30/25     Page 6 of 18




renewal of their motions to compel, which, if granted, would obviate the need for merits discovery

in this forum. See ECF Nos. 109, 110, 111. In her opposition brief, Grant walked back the demand

in her Rule 26(f) Report that merits discovery be immediately commenced, and instead asserted

that she would seek only “targeted discovery into the formation of the agreement after Defendants’

renewed motions to compel arbitration [were] filed”—in particular, discovery related to her

allegation that the Agreement was signed under “duress and coercion.” ECF No. 113 at 7–8.

               On May 7, 2024, the Court granted WWE’s Motion to Stay Discovery, see ECF

No. 116, and Grant’s Motion for Leave to Amend the Complaint, see ECF No. 115.2 The Court

set a briefing schedule for Defendants’ renewed motions to compel arbitration and, if the parties

were unable to reach agreement, permitted Grant to “file a motion seeking leave to take motion-

related discovery” by June 23, 2025. ECF No. 116. WWE filed its renewed Motion to Compel

Arbitration on June 13, 2025. ECF No. 124.3

               On June 18, 2025, Grant sent a set of proposed discovery requests to Defendants

(the “Requests”). Despite Grant’s representation in her opposition to WWE’s Motion to Stay

Discovery regarding the limited and targeted nature of the discovery she would seek, the Requests

to WWE call for documents responsive to 18 broad categories, the vast majority of which are

entirely unrelated to the formation of the Agreement or WWE’s Motion to Compel, let alone to

the arbitration provision of the Agreement. See ECF No. 126-3 at 8–10.4 For example, Grant’s

Requests demand:


2   Grant filed her First Amended Complaint (the “Amended Complaint”) that same day. See ECF
    No. 117.
3   Defendant McMahon also renewed his Motion to Compel Arbitration on June 13, 2025. ECF
    No. 122.
4   Grant’s equally broad Requests to McMahon include 20 categories and are in large part
    duplicative of her requests to WWE. See id. at 19–21.


                                                3
       Case 3:24-cv-00090-SFR         Document 128        Filed 06/30/25     Page 7 of 18




   •   All materials for WWE Board of Directors meetings and all minutes of the Audit

       Committee of the Board of Directors (Requests 9 and 10);

   •   All documents between WWE and Endeavor—the principal shareholder of WWE’s parent

       company—regarding “WWE’s litigation liabilities” (Request 11);

   •   All documents “produced . . . to government investigators” concerning Grant (Request 12);

       and

   •   With respect to an internal investigation regarding certain unrecorded expenses, documents

       “sufficient to show the scope and methodology of the Board’s Internal Investigation,”

       “sufficient to identify all person(s) interviewed in the course of the Board’s Internal

       Investigation,” and all documents “concerning the findings and recommendations of the

       Board’s Internal Investigation” (Requests 16, 17, and 18).

Id. at 8–10.

               Notwithstanding Grant’s representation that she would seek “targeted discovery

into the formation of the agreement,” ECF No. 113 at 8—which, according to her Amended

Complaint, occurred over the course of several weeks in January 2022, see First Amended

Complaint (“Am. Compl.”), No. 3:24-cv-00090-SFR (D. Conn.), ECF No. 117, ¶¶ 237–57—

Grant’s Requests have relevant time periods of four years and three months (Request 11); six years

and one month (Requests 9 and 10); and six years and five months (Requests 1–8 and 12–18).

               The parties met and conferred on June 20, 2025 regarding the Requests and did not

reach agreement. Grant filed the present Discovery Motion on June 23, 2025.

                                         ARGUMENT

               To obtain discovery related to a motion to compel arbitration, the party opposing

arbitration must provide reliable evidence that she did not intend to be bound by the arbitration



                                                4
      Case 3:24-cv-00090-SFR           Document 128         Filed 06/30/25      Page 8 of 18




provision at issue. Grant has failed to put forth any such facts. Even if—contrary to fact and

law—she had satisfied this strict standard, Grant’s requests are wholly improper. She seeks broad

discovery that is unrelated to the motion to compel and, in many cases, irrelevant even to her

underlying claims and plainly privileged.

I.     GRANT IS NOT ENTITLED TO DISCOVERY RELATED TO DEFENDANTS’
       MOTIONS TO COMPEL ARBITRATION

               “[I]n the Second Circuit, discovery on a motion to compel arbitration is appropriate

‘when the party opposing arbitration “comes forth with reliable evidence that is more than a naked

assertion . . . that it did not intend to be bound” by the arbitration agreement, even though on the

face of the pleadings it appears that it did.’” Flores v. Nat’l Football League, 2022 WL 3098388,

at *2 (S.D.N.Y. Aug. 4, 2022) (quoting Moton v. Maplebear Inc., 2016 WL 616343, at *4

(S.D.N.Y. Feb. 9, 2016)); see Legacy Cap. 26, LLC v. Chaldean Enter., LLC, 2023 WL 5530307,

at *1 (S.D.N.Y. Aug. 28, 2023). The party opposing arbitration and seeking discovery bears the

burden of offering “facts or evidence to place the validity of the [a]greement to arbitrate in issue.”

Flores, 2022 WL 3098388, at *2 (quoting Moton, 2016 WL 616343, at *5).

               “Although the Court evaluates a motion to compel arbitration under a ‘standard

similar to that of a summary judgment action,’ the standards for evaluating discovery requests in

the context of a motion for summary judgment and a motion to compel arbitration are not similar.”

Id. at *1 (quotations and citation omitted). While discovery requests related to a motion for

summary judgment are “almost always” granted, “given the strong federal policy favoring

arbitration as an alternative means of dispute resolution,” a court should not permit discovery

related to a motion to compel “as freely as it may when deciding a motion for summary judgment”

or “as a matter of course.” Id. (quotations and citation omitted).




                                                  5
      Case 3:24-cv-00090-SFR          Document 128        Filed 06/30/25      Page 9 of 18




               Grant has failed to present any allegations, let alone “reliable evidence,” that she

did not intend to be bound by the arbitration provision or that the agreement to arbitrate was

induced by fraud or duress. As a result, her Discovery Motion should be denied.

       A.      Grant Has Failed to Provide Non-Conclusory Facts or Evidence Relating to
               the Alleged Invalidity of the Arbitration Provision

               Grant is not entitled to the discovery she seeks because neither her Amended

Complaint nor her Discovery Motion offers any facts or evidence—let alone “reliable evidence”—

to support her contention that the arbitration provision in the Agreement was “induced by fraud,

duress, and coercion.” Disc. Mot. at 6–7.

               Courts deny requests for discovery where the party resisting arbitration fails to

“allege sufficient facts to show that their agreement to [the] arbitration clause was fraudulently

induced.” Olsen v. Charter Commc’ns, Inc., 2019 WL 3779190, at *6 n.7 (S.D.N.Y. Aug. 9, 2019)

(emphasis added) (denying request for limited discovery on claim that agreement was induced by

fraud); see, e.g., Moton, 2016 WL 616343, at *5 (denying discovery where plaintiff failed to offer

facts or affidavit showing that arbitration agreement was invalid); Weiss v. Travex Corp., 2002

WL 1543875, at *3 (S.D.N.Y. July 12, 2002) (denying request for “limited discovery on the issue

of fraudulent inducement” where plaintiff failed to “demonstrate the required ‘substantial

relationship’ between the purported fraudulent conduct and plaintiff’s assent to the arbitration

clause in particular”); Grimmett v. DMM Sols., Inc., 2024 WL 5090009, at *2 (S.D.N.Y. Dec. 11,

2024). Second Circuit caselaw is clear that, without sufficient allegations grounded in reliable

facts or evidence challenging the arbitration provision in particular—as opposed to the agreement

containing the arbitration provision as a whole—no discovery is warranted in connection with a

motion to compel arbitration. Grant has failed to put forth any such reliable evidence.




                                                6
     Case 3:24-cv-00090-SFR           Document 128         Filed 06/30/25      Page 10 of 18




               While the Amended Complaint includes allegations—albeit, conclusory

allegations—of fraud and duress, it does not include any factual allegations directed to the

arbitration provision as distinct from the Agreement as a whole. Grant’s assertion that the

Amended Complaint includes allegations that Grant agreed to “the underlying arbitration clause[]

under an extreme state of duress and coercion” is refuted by the Amended Complaint itself. See

Disc. Mot. at 6. The allegations in the Amended Complaint concerning the Agreement either:

(i) relate to the validity of the Agreement as a whole or to the Agreement’s confidentiality

provision specifically, see Am. Compl., ¶¶ 308–16, 327–45; or (ii) consist of legal conclusions

that the arbitration provision is also invalid without any supporting factual allegations relating

specifically to the arbitration provision, Am Compl., ¶¶ 260–61, 314, 344. Grant’s assertion in the

Discovery Motion that she faced “immense pressure” to sign the Agreement likewise is not

specifically related to the arbitration provision. Disc. Mot. at 6–7. See Grimmett, 2024 WL

5090009, at *3 (while granting targeted discovery on motion to compel, denying plaintiff’s request

for discovery on her theory that the arbitration provision was fraudulently induced because her

allegations “relate to the contract as a whole, rather than to the arbitration agreement in

particular”); see also Michel v. Parts Auth., Inc., 2016 WL 11798927, at *5 (E.D.N.Y. June 17,

2016) (finding plaintiff’s claim regarding his limited ability to speak and read English insufficient

to warrant discovery related to defendants’ motion to compel arbitration).

               Not only has Grant not adduced facts calling the validity of the arbitration provision

itself into question, but she has, in fact, painted a picture in her Amended Complaint of an arms-

length negotiation over the Agreement and its terms, including the arbitration provision. Grant

herself, who has a law degree, worked in a legal role at WWE, Am. Compl., ¶¶ 86, 91; she

personally negotiated an increased payment of three times McMahon’s original offer of




                                                 7
     Case 3:24-cv-00090-SFR            Document 128        Filed 06/30/25      Page 11 of 18




$1,000,000 in consideration for her non-disclosure of their relationship, Am. Compl., ¶ 245; she

independently retained counsel to help her negotiate the Agreement, Am. Compl., ¶ 247; and her

counsel aggressively negotiated and “wordsmith[ed]” the terms of the Agreement, to McMahon’s

annoyance, and explained those terms to Grant, Am. Compl., ¶¶ 249, 251, 255, 260. Grant does

not dispute the authenticity of the Agreement itself or her signature. See Am. Compl., ¶ 257. The

only suggestion of coercion or duress as to the overall Agreement—which does not touch at all on

the arbitration provision—is that Grant alleges that McMahon prevailed on her to sign the

Agreement quickly to avoid potential adverse effects on McMahon, his family, WWE, and Grant

herself. See Am. Compl. ¶¶ 250–57. As explained in WWE’s Motion to Compel Arbitration, the

sole alleged fact in Grant’s 93-page Amended Complaint that does relate to the arbitration

provision itself is that Grant was specifically apprised of the arbitration provision by her counsel—

which undercuts her claim that she was somehow tricked or unduly pressured into agreeing to that

provision. See Am. Compl., ¶ 260. Grant has, accordingly, not met the standard for motion-related

discovery.

       B.      The SEC Order and the Second Circuit Crime-Fraud Decision Are Irrelevant
               to Defendants’ Motions to Compel Arbitration and Do Not Support Grant’s
               Request for Motion-Related Discovery

               Grant attempts to rely on the January 10, 2025 SEC cease-and-desist order against

McMahon (the “SEC Order”) and the Second Circuit’s February 7, 2025 Crime-Fraud Decision

(the “Crime-Fraud Decision”) to support her request for motion-related discovery, but never

explains how either bears on “the legality and enforceability of the arbitration clause.” See Disc.

Mot. at 7–8. Nor could she. Neither is relevant to the validity of the arbitration clause—or, for

that matter, the validity of the Agreement itself.

               As discussed in WWE’s Opposition to Grant’s Motion for Leave to Amend the

Complaint, the SEC Order does not in any way suggest that the Agreement is invalid or


                                                     8
     Case 3:24-cv-00090-SFR            Document 128         Filed 06/30/25   Page 12 of 18




unenforceable, let alone speak to the arbitration provision of the Agreement. The SEC Order fined

McMahon for violating certain accounting and disclosure-related offenses. The SEC Order does

not find that the Agreement is unlawful or invalid. On the contrary, the SEC Order presupposes

that the Agreement is enforceable and therefore should have been disclosed to WWE’s legal and

accounting departments. See ECF No. 100 at 5–6. Likewise, the Crime-Fraud Decision upholds

the District Court’s ruling that certain communications were subject to the crime-fraud exception

because there was probable cause to believe they were in furtherance of a crime or fraud and were

intended to facilitate or conceal criminal activity—namely, circumvention of internal controls. See

In Re: Grand Jury Subpoenas Dated September 13, 2023, 128 F.4th 127, 145 (2d Cir. 2025).5

That alleged criminal activity, and the Second Circuit’s ruling, have nothing whatsoever to do with

the validity of the Agreement, let alone the arbitration provision itself.

               Grant mentions the SEC Order and the Crime-Fraud Decision to try to shroud the

Agreement in suspicion, but both documents are publicly available, neither concludes or in any

way assumes that the Agreement itself is invalid or unenforceable, and both concern alleged efforts

to avoid proper disclosure and accounting of the Agreement. Neither the SEC Order nor the

Crime-Fraud Decision even mentions the word “arbitration.” Grant’s claim that her requested

discovery regarding the SEC Order and the Crime-Fraud Decision “will speak to the legality and

enforceability of the arbitration clause at dispute” is flatly refuted by the documents themselves,

and she “cannot avoid arbitration with the unsubstantiated hope that discovery may turn up

something.” Olsen, 2019 WL 3779190, at *6 n.7.




5   Although the Crime-Fraud Decision is anonymized, WWE assumes for purposes of this
    Opposition that it concerns communications between McMahon and his counsel.


                                                  9
      Case 3:24-cv-00090-SFR           Document 128         Filed 06/30/25      Page 13 of 18




II.    GRANT’S DISCOVERY REQUESTS EXCEED THE PROPER SCOPE OF
       “MOTION-RELATED” DISCOVERY AND WOULD CAUSE AN UNDUE
       BURDEN ON DEFENDANTS AND UNNECESSARY DISCOVERY DISPUTES
       FOR THE COURT

               Even assuming that Grant could provide “reliable evidence” challenging the

enforceability of the arbitration provision, the Requests are improper and the Court should deny

Grant’s motion on that independent basis. Because the Court’s analysis in deciding a motion to

compel arbitration is “generally limited to determining whether there is a valid agreement to

arbitrate, whether one party has failed to perform its duties under that agreement, and whether the

agreement, properly interpreted, encompasses the dispute at hand,” motion-related discovery must

also be limited to those issues. See Flores, 2022 WL 3098388, at *2. Where the party opposing

arbitration has met its burden to “come[] forth with reliable evidence that is more than a naked

assertion . . . that it did not intend to be bound by the arbitration agreement,” discovery should be

limited to the alleged grounds for invalidating the agreement to arbitrate. Id. (internal quotation

marks and citations omitted); see also Ahmad v. Day, 2021 U.S. Dist. LEXIS 32401, at *3–6

(S.D.N.Y. Feb. 22, 2021) (granting limited discovery into the metadata of an arbitration agreement

in response to plaintiff’s contention that his signature was falsified, and denying all other discovery

requests). Grant’s Requests far exceed this limited scope.

       A.      Grant’s “Motion-Related” Requests Are Not Remotely Tailored to the Issue
               in Defendants’ Motions to Compel Arbitration, But Instead Attempt to
               Circumvent the Discovery Stay

               To the extent Grant is entitled to motion-related discovery at all, it must be tethered

to motion-related issues. Olsen, 2019 WL 3779190, at *6 n.7. Grant’s Requests do not even

attempt to meet that standard. Simply put, the discovery Grant seeks is not relevant to the issue in

Defendants’ motions to compel arbitration: the enforceability of the arbitration provision. Instead,

it is a clear effort to obtain merits discovery in circumvention of the Court-ordered stay.



                                                  10
     Case 3:24-cv-00090-SFR           Document 128        Filed 06/30/25      Page 14 of 18




               At the outset, Grant does not, and cannot, explain why evidence supporting her

basis for opposing Defendants’ motions to compel arbitration—her contention that she signed the

Agreement “in an extreme state of duress and coercion”—would be in the Defendants’ possession,

as opposed to her own. See Disc. Mot. at 4; Moton, 2016 WL 616343, at *5 (denying motion-

related discovery and noting that “[a]ll information pertinent” would be within plaintiff’s

“possession, custody, and control and no one else’s”). But even if she could, the cases cited by

Grant herself in her Discovery Motion make clear that any motion-related discovery must be

“limited” to the “restricted inquiry” of the right to arbitrate. See Golightly v. Uber Techs., Inc.,

2021 WL 3539146, at *3–4 (S.D.N.Y. Aug. 11, 2021) (permitting motion-related discovery where

“the breadth of the discovery sought [was] narrow,” “the time period for the requests [was]

limited,” and “[p]laintiff [did] not ask for all documents”); de Moura Castro by Hilario v. Loanpal,

LLC, 715 F. Supp. 3d 373, 401 n.22 (D. Conn. 2024) (permitting the parties to “move the [c]ourt

to allow discovery which [was] narrowly limited to the issue of whether valid arbitration contracts

exist[ed]”); Legacy, 2023 WL 5530307, at *1 (permitting “limited discovery on whether the

arbitration clause was induced by fraud”); Alvarez v. Experian Info. Sols., Inc., 2021 WL 2349370,

at *2 (E.D.N.Y. June 7, 2021) (allowing for only “arbitration-related discovery” while staying all

other discovery).

               Many of Grant’s Requests are plainly irrelevant—for example, she seeks “all”

WWE “Board Materials” between January 1, 2019 and January 30, 2025, ECF No. 126-3 at 8, but

does not (and cannot) articulate how materials from the WWE Board of Directors could possibly

bear on the validity of the Agreement’s arbitration provision. Even the few Requests that facially

touch on the Agreement are not relevant to the adjudication of the validity of the arbitration

provision in particular, which will turn on whether the agreement to arbitrate itself, and not the




                                                11
     Case 3:24-cv-00090-SFR            Document 128        Filed 06/30/25      Page 15 of 18




Agreement as a whole, was induced by fraud or duress. See Am. Compl., ¶¶ 260–61, 314, 344.

Grant seeks documents “sufficient to show the identity of each individual who participated in

drafting and/or reviewing the NDA,” “[a]ll communications . . . concerning terminating Ms.

Grant’s employment and/or the NDA,” “[a]ll drafts of the NDA,” and “[a]ll documents and

communications generated by WWE’s human resources personnel” related to “Ms. Grant’s

employment and separation from WWE and/or the NDA.” ECF No. 126-3 at 8. None of these

categories of documents is necessary to resolve Defendants’ motions to compel arbitration because

they do not shed light on “the validity of the agreement to arbitrate” in particular. Flores, 2022

WL 3098388, at *2. Indeed, Grant’s Requests do not once reference the arbitration provision.

               Grant’s Requests are a far cry from her representations to the Court that she seeks

“directed,” “[t]argeted,” “aimed,” and “narrowly tailored” discovery that speaks “directly to the

legality, formation, and enforceability of the arbitration clause at issue.” Disc. Mot. at 3, 4, 5, 6,

7, 8. Because the Requests instead seek full-blown merits discovery in contravention of the stay,

the Court should reject them. In the event that the Court does permit Grant to seek limited

discovery in support of her opposition to Defendants’ motions to compel arbitration, WWE

respectfully requests that WWE be allowed to obtain equivalent reciprocal discovery from Grant.

       B.      The Requests, Which Implicate Significant Relevance and Privilege Concerns,
               Are Unduly Burdensome and Prejudicial and Would Lead to Extensive
               Discovery Disputes

               Grant’s claim that her requested discovery “would impose no undue burden on

Defendants” is unsupported and inaccurate. See id. at 9. The Requests would significantly delay

adjudication of the pending motions to compel arbitration. Collecting, reviewing, and producing

documents in response to Grant’s proposed Requests would take many months to complete—the

equivalent of a full merits document discovery period. And many of Grant’s Requests implicate

significant relevance and privilege issues that will likely require motion practice to resolve,


                                                 12
     Case 3:24-cv-00090-SFR            Document 128      Filed 06/30/25      Page 16 of 18




including Grant’s Requests for documents concerning: (i) WWE’s response to “government

investigators, including but not limited to the Department of Justice and/or Securities and

Exchange Commission” (Requests 12–15); and (ii) an internal investigation conducted by a

Special Committee of WWE’s Board of Directors (Requests 16–18). ECF No. 126-3 at 9–10.

Such litigation would unnecessarily burden the Court and further delay the transfer of this case to

arbitration. And WWE would be further prejudiced because litigation regarding these Requests—

which are directed to the merits of Grant’s claims, rather than to their arbitrability—should occur

before the arbitration panel, not this Court.

                                          CONCLUSION

               For the foregoing reasons, the Court should deny Grant’s Motion for Leave to Serve

Motion-Related Discovery.




                                                13
     Case 3:24-cv-00090-SFR   Document 128     Filed 06/30/25   Page 17 of 18




Dated: June 30, 2025               Respectfully submitted,

                                   By: /s/ Daniel J. Toal

                                   MORGAN LEWIS & BOCKIUS LLP

                                   Christopher M. Wasil (ct28578)
                                   One State Street
                                   Hartford, CT 06103-3178
                                   Phone: (860) 240-2700
                                   Fax: (860) 240-2701
                                   Email: christopher.wasil@morganlewis.com

                                   David A. McManus (pro hac vice)
                                   One Federal Street
                                   Boston, MA 02110-1726
                                   Phone: (617) 341-7700
                                   Fax: (617) 341-7701
                                   Email: david.mcmanus@morganlewis.com

                                   PAUL, WEISS, RIFKIND, WHARTON &
                                   GARRISON LLP

                                   Daniel J. Toal (phv10907)
                                   Liza M. Velazquez (phv02132)
                                   1285 Avenue of the Americas
                                   New York, NY 10019-6064
                                   Phone: (212) 373-3000
                                   Fax: (212) 757-3990
                                   Email: dtoal@paulweiss.com
                                          lvelazquez@paulweiss.com

                                   Mitchell D. Webber (phv207889)
                                   2001 K Street, NW
                                   Washington, DC 20006-1047
                                   Phone: (202) 223-7442
                                   Fax: (202) 379-4162
                                   Email: mwebber@paulweiss.com

                                   Attorneys for Defendant World Wrestling
                                   Entertainment, LLC




                                     14
     Case 3:24-cv-00090-SFR            Document 128         Filed 06/30/25       Page 18 of 18




                                  CERTIFICATE OF SERVICE

               I certify that on June 30, 2025, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF system.



                                              /s/ Daniel J. Toal
                                              Daniel J. Toal




                                                  15
